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                                                    UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF NORTH CAROLINA

IN RE:                                                                        CASE NO:
            Floyd Otha Earp, Jr.
            Julie Grudzinski Earp



              Debtor (in a joint case, "debtor
                       shall include "debtors")

                                                                       CHAPTER 13 PLAN

        The format of this chapter 13 plan has been approved by the bankruptcy judges for the Eastern District of North
Carolina.

        CONFIRMATION PROCESS: Before a plan is confirmed, the chapter 13 trustee will file a separate Motion and
Notice for Confirmation that will be served on all creditors. The trustee's Motion and Notice for Confirmation may
incorporate some or all of the terms of the debtor's proposed plan, and will state the date by which objections to
confirmation must be filed with the court. Any objections to confirmation must state with particularity the grounds for the
objection.
The rights of creditors may be affected if the plan is confirmed, and creditors should carefully read the plan.

         PROOF OF CLAIM: A creditor's claim will not be allowed or paid unless a proof of claim is filed by or on behalf
of the creditor. Only allowed claims will receive a distribution from the chapter 13 trustee. Confirmation of a plan does
not preclude the debtor, trustee or a party in interest from filing an objection to a claim.

         PRE-CONFIRMATION ADEQUATE PROTECTION PAYMENTS: Pre-confirmation adequate payments
required by 11 U.S.C. § 1326(a)(1) that are to be made through the chapter 13 trustee pursuant to Local Rule 3070-1(b)
shall be disbursed by the trustee in accordance with the trustee's customary distribution process. A creditor will not
receive a pre-confirmation adequate protection payment unless the creditor timely files a proof of claim.

       INFORMATION ABOUT THE DEBTOR: The debtor's Current Monthly Income as defined in 11 U.S.C. §
101(10A) is ABOVE / BELOW (designate one) the applicable state median income.

           The debtor's projected disposable income as referred to in 11 U.S.C. § 1325(b)(1)(B) is $ -95.81

        The amount referred to in 11 U.S.C.§1325(a)(4) that would be paid to unsecured claims if the debtor's estate were
liquidated in a case under chapter 7 of title 11 is $ 0 . The "liquidation test" has been computed as follows:

Asset (Real Property, Auto, Other)                                                       Liquidation Value Net of Security Interest
House & lot:                                                                                                                 6,859.00
Location: 2830 Wendell Blvd., Wendell NC 27591-6905
Tax value = $199,914.00
Market value based on recent sales and market value
analysis by real estate professional.
Checking acccount Wells Fargo                                                                                                      0.00
Savings Acocunt Wells Fargo                                                                                                        0.00
Small appliances                                                                                                                   0.00
Stove                                                                                                                              0.00
Refrigerator                                                                                                                       0.00
Washer / Dryer                                                                                                                     0.00
Cookware & Utensils                                                                                                                0.00
Everyday Tableware                                                                                                                 0.00
Living room furnishings                                                                                                            0.00
Bedroom furnishings                                                                                                                0.00
Dining room furnishings                                                                                                            0.00
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Asset (Real Property, Auto, Other)                                                  Liquidation Value Net of Security Interest
Televisions -2                                                                                                               0.00
DVD player                                                                                                                   0.00
Computer / printer / accessories                                                                                             0.00
Yard tools                                                                                                                   0.00
Hand tools                                                                                                                   0.00
Misc books, pictures, art, records, CD's, collectibles, etc.                                                                 0.00
Riding lawn mower                                                                                                            0.00
Misc. sports, photographic, and other hobby equipment                                                                       50.00
Clothing                                                                                                                     0.00
Miscellaneous jewelry                                                                                                        0.00
Shotguns (2)                                                                                                                 0.00
Term life insurance through work - W is beneficiary                                                                          0.00
403b retirement account, Valic                                                                                               0.00
2000 Chevrolet Tahoe Z71, 4 WD, V8; mileage > 229,115. Tires                                                                 0.00
& timing belt need replacement. Power locks, back windows
& front passenger door handle inoperable. Multiple dents
and scratches. Average trade-in value used.
2001 Lexus RX300, 2 WD. Mileage > 174,840. Needs tires, 2                                                                     0.00
oxygen sensors & E6R valve. Trunk dented. Average trade-in
value used.
2005 Chevrolet Trailblazer V6, 4WD, mileage > 130,253.                                                                        0.00
Oxygen sensors, washer wiper pump, tires, shocks and
stabilizer all need replacement. Gas tank indicator needs
repair. Average trade-in value used.
1996 Honda Passport, V6, 4WD. Mileage > 158,823. Back                                                                   1,150.00
glass latch and timing belt need replacing. Gas tank indicator
& leaking valve cover gaskets need repair. Stained carpet,
missing floor mats. Average trade-in value used.
Dogs (3)                                                                                                                      3.00



                                                      PLAN TERMS PROPOSED BY DEBTOR

1. PAYMENTS AND LENGTH OF PLAN
        The debtor shall make payments to the trustee in the aggregate amount of $ 80,142.00 , which shall be payable
as follows (state amount of monthly payment and the number of months to be paid): $1,406.00 per month for 57
months .
2. PAYMENT OF DEBTOR'S BASE ATTORNEY'S FEES
        The balance of the debtor's attorney's base fee to be paid through the plan is $ 2,815.00      (representing a base
fee of $ 3,700.00 less the amount of $ 885.00 which has already been paid).
3. PAYMENT OF SECURED CLAIMS (PAID THROUGH THE PLAN)
        The secured claims to be paid through the plan are listed in the chart at the end of this paragraph. The allowed
amounts of the secured claims will be limited to the amounts stated in the column "Amount of Secured Claim to be Paid,"
which will be paid with interest at the rate shown in the chart. Distributions will be made by the trustee to the holders of
secured claims over the duration of the plan as stated in Paragraph 1, and shall be subject to the disbursements for
attorney's fees as set forth in Local Rule 2016-1. Unless otherwise ordered by the court, the amount of a creditor's claim
in excess of the allowed amount of the secured claim shall be a general unsecured claim.




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Creditor                 Collateral             910/           Amount of     Collateral   Amount of     Int.    If Entitled Est. Mo. Pymt.
                         Description             365              Claim         Value        Secured    Rate      to §1326
                                                Claim                                     Claim to be                PMSI
                                               under §                                           Paid          Adeq. Prot.
                                               1325(a)                                                               Pymt.
                                                  ?                                                                Specify
                                                 Y/N                                                               Amt. of
                                                                                                                     Pymt.
Bank of                  House & lot:              N          $128,680.00   $173,000.00   $121,919.10 4.625%         $0.00         $936.68
America                  Location:
Mortgage                 2830 Wendell
Corresp                  Blvd.,
                         Wendell NC
                         27591-6905
                         Tax value =
                         $199,914.00
                         Market value
                         based on
                         recent sales
                         and market
                         value analysis
                         by real estate
                         professional.

4. PROPERTY TO BE SURRENDERED TO SECURED CREDITORS

        The Debtor Will Surrender The Collateral Listed In The Chart At The End Of This Paragraph. Upon
confirmation of the plan, the automatic stay and, if applicable, the codebtor stay, will terminate with respect to
the surrendered collateral. No claim for a deficiency will be allowed unless it is filed within 180 days after
confirmation of the plan, and no distribution will be made to an affected secured creditor unless the secured creditor has
given the debtor credit and reduced its claim to account for the surrendered collateral.
 Creditor                                                      Collateral Description
-NONE-

5. CURING DEFAULTS
        Pursuant to 11 U.S.C. § 1322(b)(3) and/or (5), the pre-petition defaults listed in the chart at the end of this
paragraph will be cured through the plan in full with interest, if any, at the rate specified in the chart. The amount of the
arrearage in the chart is an estimation and the amount of the arrearage, unless otherwise ordered by the court, shall be
determined by the amount stated in the creditor's proof of claim. After the arrearage, as stated in the proof of claim or as
otherwise determined by the court, has been paid through the plan, all pre-petition defaults shall be deemed to be cured,
the debtor's obligation shall be deemed to be current as of the date of the petition, the secured creditor shall have no right
to recover any amount alleged to have arisen prior to the filing of the petition, and the secured creditor may not declare a
default of the note, mortgage or other loan document based upon a pre-petition default.
 Creditor                        Collateral Description                  Estimated Amount of          Interest to be Paid on
                                                                                      Arrearage      Arrearage (0% if none
                                                                                                            specified)
Bank of America Mortgage                    House & lot:                                         $6,760.90             0%
Corresp                                     Location: 2830 Wendell Blvd.,
                                            Wendell NC 27591-6905
                                            Tax value = $199,914.00
                                            Market value based on recent
                                            sales and market value
                                            analysis by real estate
                                            professional.




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Creditor                                    Collateral Description                    Estimated Amount of      Interest to be Paid on
                                                                                                Arrearage      Arrearage (0% if none
                                                                                                                     specified)
Wake Co Revenue Dept                        House & lot:                                           $333.00              0%
                                            Location: 2830 Wendell Blvd.,
                                            Wendell NC 27591-6905
                                            Tax value = $199,914.00
                                            Market value based on recent
                                            sales and market value
                                            analysis by real estate
                                            professional.

6. SECURED CLAIMS TO BE PAID DIRECTLY TO CREDITORS BY DEBTOR
        The following secured claims shall be paid by the debtor directly to the secured creditors according to the
contractual terms of the secured claims:
Creditor                                                                      Collateral Description
Wake Co Revenue Dept                                                          House & lot:
                                                                              Location: 2830 Wendell Blvd., Wendell NC 27591-6905
                                                                              Tax value = $199,914.00
                                                                              Market value based on recent sales and market value
                                                                              analysis by real estate professional.
Wake Co Revenue Dept                                                          House & lot:
                                                                              Location: 2830 Wendell Blvd., Wendell NC 27591-6905
                                                                              Tax value = $199,914.00
                                                                              Market value based on recent sales and market value
                                                                              analysis by real estate professional.

7. PRE-PETITION DOMESTIC SUPPORT OBLIGATIONS
         The following arrearage claims for pre-petition domestic support obligations as defined in 11 U.S.C. §101(14A)
shall be paid in full through this plan pursuant to 11 U.S.C.§507(a)(1) unless the domestic support obligation claimant
agrees to a different treatment or the court orders otherwise:
 Creditor                                  Collection Agency                                         Amount of Arrearage
-NONE-


         The debtor shall directly pay all ongoing domestic support obligations that become due after the filing of the
petition.

8. PRIORITY CLAIMS (EXCLUDING DOMESTIC SUPPORT OBLIGATIONS)
        The following claims that are entitled to priority pursuant to 11 U.S.C. §507 shall be paid in full through this plan
unless the claimant agrees to a different treatment or the court orders otherwise:
 Creditor                                  Type of Priority                                      Amount of Priority Claim
Internal Revenue Service                                  Taxes and certain other debts                                           $8,601.00
NC Department of Revenue                                  Taxes and certain other debts                                           $3,054.00
Wake Co Revenue Dept                                      Taxes and certain other debts                                            $182.00

9. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
         Executory contracts and leases that are being assumed shall be paid directly by the debtor according to the
contractual terms of the executory contract or lease . Pre-petition defaults listed in the chart at the end of this paragraph
will be cured through the plan. The amount of the arrearage in the chart is an estimation and the amount of the arrearage,
unless otherwise ordered by the court, shall be determined by the amount stated in the creditor's proof of claim. After the
arrearage, as stated in the proof of claim, has been paid through the plan, all pre-petition defaults shall be deemed to be
cured, the debtor's obligation shall be deemed to be current as of the date of the petition, the lessor or party to the
executory contract shall have no right to recover any amount alleged to have arisen prior to the filing of the petition, and
the lessor or party to the executory contract may not declare a default of the lease or contract based upon a pre-petition
default. Claims arising from the rejection of executory contracts and leases shall be general unsecured claims.

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    Lessor/Creditor                Subject of                          To be Assumed,       Amount of Arrearage       Term of Cure
                                   Lease/Contract                      Rejected, or other                                (Months)
                                                                          Treatment
    T-Mobile                       Cellular phone service                  Assumed                        $0.00                         0
    Correspondence
    Sprint Bankruptcy              Telephone services                      Rejected                       $0.00                         0
    Department

10. CO-DEBTOR AND OTHER SPECIALLY CLASSIFIED UNSECURED CLAIMS
          The following claims, if allowed, shall be paid as specially classified unsecured claims and shall receive the
following designated treatment:
 Creditor                                 Amount of Debt                             Treatment of Claim
                                          Specially Classified
    -NONE-


11. GENERAL UNSECURED CLAIMS
        General unsecured claims shall be paid through the plan pro rata to the extent that funds are available after
disbursements are made to pay secured claims, arrearage claims, priority claims, and other specially classified claims.


12. DISCHARGE
         Subject to the requirements, conditions and limitations provided in 11 U.S.C. §1328, and unless the court
approves a written waiver of discharge executed by the debtor, the court shall, as soon as practicable after completion by
the debtor of all payments under the plan, grant the debtor a discharge of all debts provided for by the plan or that are
disallowed under 11 U.S.C.§ 502.


13. OTHER PLAN PROVISIONS
        A. Lien Retention. Holders of allowed secured claims shall retain the liens securing their claims to the extent
provided by 11 U.S.C.§ 1325(a)(5)(B)(i).
         B. Vesting of Property of the Estate. Property of the estate shall vest in the debtor pursuant to 11 U.S.C. §
1327(b) unless this box is checked , in which event property of the estate shall remain property of the estate after
confirmation of the plan.
           Except as otherwise provided, property of the estate and property that vests in the debtor upon confirmation
shall remain in the possession and control of the debtor, and the trustee shall have no liability arising out of the property
or its retention or use by the debtor. The debtor's use of the property shall be subject to the requirements of 11 U.S.C.
§363, all other provisions of title 11, the Federal Rules of Bankruptcy Procedure and the Local Rules of this court.
         C. Creditor Notices When Debtor to Make Direct Payments. Secured Creditors, lessors and parties to
executory contracts that will be paid directly by the debtor may send standard payment notices to the debtor without
violating the automatic stay.
          D. Rights of Debtor and Trustee to Avoid Liens and to Recover Transfers. Confirmation of the plan shall not
prejudice the rights of the debtor or the trustee to bring actions to avoid liens or to avoid and recover transfers. Actions
to avoid liens or to avoid and recover transfers must be initiated by separately filed motions or complaints.
             E. Other Provisions of the Plan:
             (Please attach additional pages as necessary)
         ..
MORTGAGE CURRENT UPON DISCHARGE:
   The holder and/or servicer of a mortgage claim shall be subject to and bound by the provisions of the Administrative
Order Establishing Prodedures Governing Post-Petition Conduit Mortgage Payments Effective January 1, 2010, United States
Bankruptcy Court, Eastern Division of North Carolina (the "Order").

.
      As required by the Chapter 13 Trustee and EDNC Local Rule 3070-2, an Administrative Arrearage equaling two additional
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mortgage payments for each mortgage being paid through the plan has been added to the mortgage arrearages.

.
      General unsecured claims shall receive a distribution of 0%.

.
      The effective date of the Plan shall be the date of confirmation.

.


    Date May 2, 2013                                                   Signature   /s/ Floyd Otha Earp, Jr.
                                                                                   Floyd Otha Earp, Jr.
                                                                                   Debtor


    Date May 2, 2013                                                   Signature   /s/ Julie Grudzinski Earp
                                                                                   Julie Grudzinski Earp
                                                                                   Joint Debtor




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